 Case:18-05288-EAG11 Doc#:289 Filed:12/05/19 Entered:12/05/19 09:05:51      Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                                THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                    CASE NO. 18-05288-EAG11
 4    SKYTEC INC                               Chapter 11

 5

 6
     XX-XXXXXXX
 7
                    Debtor(s)                     FILED & ENTERED ON DEC/05/2019
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 9
                                         O R D E R
10
           The application for allowance of compensation filed by Alexis Fuentes
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     Hernandez, Debtor’s Attorney, in the amount of $43,501.84 (docket #265), having
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     been duly notified to all parties in interest, and no timely replies or
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     objections having been filed, it is now
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           ORDERED that said motion be and is hereby granted.
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           IT IS SO ORDERED.
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           In Ponce, Puerto Rico, this 5 day of December, 2019.
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